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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 Dakota Labs Inc.,

                     Plaintiff,
                                                 Case No. 2:24-cv-10922
        v.
                                                 Hon. Susan K. DeClercq
 Huron Capital Partners LLC and
 Michael Grunza III,

                     Defendants.


             STIPULATED ORDER REGARDING DISCOVERY OF
                ELECTRONICALLY STORED INFORMATION

        Pursuant to Rule 26(b) of the Federal Rules of Civil Procedure and the

stipulation of the parties regarding discovery and the preservation, search and

production of electronically stored information and hard-copy documents or files

stored in or converted into electronic format (“ESI”) in this proceeding, IT IS

HEREBY ORDERED as follows:

   I.        GENERAL

        A.    Scope: The procedures and protocols outlined herein (the “ESI

Protocol”) govern discovery procedures including the preservation, search and

production of ESI by the Parties. This Order applies throughout the pendency of this

litigation and governs all Parties to these proceedings, whether they currently are

involved or become so in the future (collectively, the “Parties”). This ESI Protocol
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shall also govern productions made by any third party who is subpoenaed in this

action unless otherwise agreed to by the issuing Party and the third party.

Accordingly, this ESI Protocol shall be attached to any subpoena issued in this

action. The Parties will take reasonable steps to comply with this ESI Protocol.

      Nothing in this ESI Protocol is intended to be an exhaustive list of discovery

obligations or rights of a Party producing discoverable information or a Party

requesting discoverable information, or any other Party or non-party. To the extent

additional obligations or rights not addressed in this ESI Protocol arise under the

Eastern District of Michigan Local Rules, the Federal Rules of Civil Procedure, or

other applicable rules or applicable law, they shall be controlling. This ESI Protocol

governs the reproduction by the Parties of discoverable information obtained from

non-parties prior to or during discovery; such information shall be reproduced by the

Parties in the format defined in this ESI Protocol for all document productions.

      B.     Costs: Each Party shall bear its own costs for the production of

documents in accordance with this protocol unless cost-sharing or cost-shifting with

respect to any particular source of responsive documents is appropriate under the

law and directed by the presiding court.

      C.     Variance and Dispute Resolution: Any practice or procedure set forth

herein may be varied by agreement of the Parties. Should any Party subsequently

determine it cannot in good faith proceed as required by this Protocol, or if the



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Parties cannot reach agreement as to the implementations of the Protocol, the Parties

will meet and confer to resolve the dispute and if not successful seek assistance from

the Court.

         D.     Non-Waiver: By agreeing to this ESI Protocol, the Parties and their

attorneys do not waive, and do not intend to waive: (1) their rights to any protection

or privilege, including the attorney-client privilege and work product doctrine;

(2) their objections or rights to object to any discovery requests previously served or

which may be served in the future; (3) any and all objections to the authenticity,

relevance, competency, materiality or admissibility of any ESI that may be produced

in this action; or (4) their rights to object on any grounds to the use of any ESI they

may produce, including at the trial of this action.

   II.        IDENTIFICATION AND COLLECTION OF RESPONSIVE
              DOCUMENTS

         A.     Sources and Search Methods: The Parties agree that, with respect to

pending discovery requests and any supplemental requests, they shall meet and

confer in good faith regarding: (1) sources from which and custodians from whom

ESI will be collected for review; (2) search methods, search terms, and/or other

filtering or categorization to be applied; and (3) applicable timeframe(s) for

collection and review of ESI. These discussions should begin as soon as practicable

after service of responses and objections to requests for production and shall

continue as necessary to address issues that arise in the course of discovery. If the

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Parties cannot reach agreement on the scope of collection and/or review following

good-faith negotiations, the Parties will seek resolution from the Court as to any

remaining disputes.

      B.     Timing: The production of documents in accordance with this ESI

Protocol will be made on a rolling basis and will be substantially completed by

September 26, 2025. The Parties will, in good faith, endeavor to phase their review

of documents and to produce the responsive, non-privileged documents from such

reviews according to the following schedule:

      Approximately 33%: on or before July 18, 2025; and

      Approximately 66%: on or before August 22, 2025.

      C.     Filtering and Culling: The Parties agree to the following approaches

to filtering or culling of ESI:

       1.    De-Duplication: Each Party may dedupe ESI globally (i.e., across all

             custodians) for exact duplicate documents (based on MD5 or SHA-1

             hash values at the parent document level). This will result in the

             Producing Party needing to produce only a single copy of responsive

             Duplicate ESI, provided that all other custodians of the Duplicate ESI

             are listed in the “Duplicate Custodian” (or similar name) field. The

             Parties will not treat a document containing handwritten notes,

             highlighting, or any other markings as a duplicate of a non-marked or



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            annotated version of the same document. The Parties shall de-duplicate

            stand-alone documents against stand-alone documents and shall de-

            duplicate top-level email documents against top-level email documents.

            De-duplication shall not break apart families.

       2.   Email Threading: Email threads are email communications that contain

            prior or lesser-included email communications that also may exist

            separately in the Party’s electronic files. A most inclusive email thread

            is one that contains all of the prior or lesser-included emails, including

            attachments, for that branch of the email thread. Each Party may review

            only the most inclusive email threads; however, all emails in a thread

            shall be produced. Threading is therefore permitted for document

            review, though not required.      To the extent that an e-mail thread

            contains privileged communications, such communications can be

            redacted.   Each Party must include each individual email on its

            privilege log, including lesser-included emails within email threads,

            over which it seeks to assert a privilege. If an e-mail thread contains

            responsive, non-privileged communications, the entire e-mail thread

            cannot be withheld as privileged.




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   III.    PRODUCTION OF RESPONSIVE DOCUMENTS

      A.    Form of Production:

            a. ESI must be produced as single-page, Group IV TIFFs at 300x 300

                dpi resolution and 8.5 x 11-inch page size (size for size), unless a

                document requires a different resolution or page size in order to be

                appropriately viewed.

            b. Each imaged version of an electronic document will be created

                directly from the original electronic document.

            c. Images shall be produced as black & white, single-page TIFF

                images or color-for-color, single-page JPG images in accordance

                with the technical specifications set out above, unless agreed

                with the opposing party or ordered by the Court.                  Word

                documents and PowerPoint files shall be produced natively.

                Documents produced in color shall be produced as single page,

                300 DPI, color JPG images with the quality setting of 75% or

                higher.

             d. For each document, an extracted text file should be provided along

                with its corresponding TIFF image file(s) and metadata. The file

                name of each extracted text file should be identical to that of the first

                image page of its corresponding document, followed by .txt. File



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               names should not contain any special characters or embedded

               spaces. The text of native files should be extracted directly and

               should contain the full text from the native file. To the extent

               reasonably feasible, extracted text shall provide all comments,

               tracked changes, speaker’s notes, and text from hidden worksheets,

               slides, columns and rows. If a document has been redacted, Optical

               Character Recognition (“OCR”) of the redacted document will

               suffice in lieu of extracted text.   Also, if extracted text is not

               available in the native file or documents contain redactions, the

               documents shall be processed by an OCR tool prior to production to

               extract available text so that the record is searchable to the extent

               possible.

            e. Spreadsheets, presentation formatted files or documents, source

               code, audio and video files, and other file types that do not readily

               convert to image format shall be produced in native format. Any

               document produced in native format should be produced in

               accordance with the following specifications:

                  i. A unique bates number and confidentiality designation shall
                     be used as the file name, and the original file name and
                     file extension shall be preserved in the corresponding load
                     file.    An example of this convention would be
                     “XXXXXX0000001_HighlyConfidential.doc.”



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                   ii. The native format documents shall be accompanied by
                       reference information in the accompanying metadata DAT
                       file that sets forth for each document sufficient information
                       to allow the parties to track and authenticate the native
                       format documents produced, including: (i) the name of the
                       custodian from whose files the electronic file is produced;
                       (ii) an appropriately calculated “MD-5 Hash Value”; (iii) the
                       original name of the file; and (iv) a Bates number.

                  iii. Any file produced in native format need not be imaged.
                       Instead, a single-page placeholder image shall be provided
                       that indicates the file was produced in native format and
                       contains the bates number of the corresponding file.

             f. The Parties shall meet and confer regarding the scope and

                production format for short messages, including, but not limited to,

                instant messages and text messages.

      E.     Document Enhancement and Orientation: The Parties are under no

obligation to enhance an image beyond how it was kept in the usual course of

business. Original document orientation should be maintained (i.e., portrait to

portrait and landscape to landscape) to the extent practicable.

      F.     Data Load Files/Cross-Reference Files: ESI shall be accompanied by

a data load file, a single text file containing extracted text or Optical Character

Recognition (“OCR”) Text when used in lieu of extracted text, and an image load

file for each document. Fielded data should be exchanged via a document-level-

database load file in standard Concordance format (DAT). All image data should be

delivered with a corresponding image load file in Opticon (OPT). The total number



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of images files referenced in the image load file should match the total number of

images in the production delivery.

      G.     Document Unitization: The Parties shall use best efforts to produce

hard-copy documents or files stored in or converted into electronic format so that

they are physically unitized to the smallest binding element (i.e., distinct documents

shall not be merged into a single record, and single documents shall not be split into

multiple records) and produced in the order in which they are kept in the usual course

of business. For documents found in folders or other containers with labels, tabs, or

other identifying information, such labels and tabs shall be scanned where

practicable. Pages with Post-it notes shall be scanned both with and without the

Post-it, with the image of the page with the Post-it preceding the image of the page

without the Post-it. Documents shall be scanned and produced color-for-color. For

all files produced as TIFF/JPG images, each page of a document shall be

electronically saved as an image file. If a document consists of more than one page,

the producing Party will maintain the unitization of the document and any

attachments as it existed in the original when creating the image files.

      H.     Bates Numbering: Each production volume shall be given a common

designator, and volume names shall be consecutive (e.g., ABC001, ABC002, . . .).

All TIFF images must be assigned a Bates number that shall: (i) be unique across

the entire document production; (ii) maintain a constant length across the entire



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 production; (iii) contain no special characters or embedded spaces; (iv) be sequential

 within a given document; (v) appear in the lower right corner of the page. If a Bates

 number or set of Bates numbers is skipped in a production, the producing Party will

 produce a one-page placeholder in the production for any Bates number gaps. Each

 placeholder shall also contain the appropriate Confidentiality endorsement for the

 file.

         If a document is produced in native format, a single-page Bates stamped

 image slip sheet stating the document has been produced in native format should be

 provided.     This placeholder shall also contain the appropriate Confidentiality

 endorsement for the file. Each native file should be named according to the Bates

 number it has been assigned and should be linked directly to its corresponding record

 in the load file using the NATIVELINK field.

         I.    Fields and Metadata: The following metadata fields associated with

 each electronic document will be produced, to the extent they are available. No party

 shall be required to manually populate any fields that do not exist as a document is

 maintained in the ordinary course of business.

  Field Name              Field Description        Required   Required For   Required for
                                                     For       Non-E-Mail    Chats/Texts
                                                    Email         ESI
  Custodian             Name of custodian(s)          X            X              X
                        of email(s) or file(s)
                        produced (Last Name,
                        First Name format) as
                        available
  Duplicate Custodian   Name of duplicate             X            X              X


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 Field Name            Field Description         Required   Required For   Required for
                                                   For       Non-E-Mail    Chats/Texts
                                                  Email         ESI
 (or similar name)   custodian(s) of
                     email(s) or file(s)
                     produced
 BegBates            Beginning Bates#               X            X              X
                     (including Prefix)
 EndBates            Ending Bates#                  X            X              X
                     (including Prefix)
 BegAttach           Beginning Bates                X            X              X
                     number of the first
                     document in an
                     attachment range
 EndAttach           Ending Bates number            X            X              X
                     of the last document in
                     attachment range
 From                From field extracted from      X
                     an email message
 Author              Author field extracted                      X
                     from the metadata of a
                     non-email document
 To                  To or Recipient                X
                     extracted from an
                     email message
 Cc                  Carbon Copy ("Cc")             X
                     field extracted from an
                     email message
 Bcc                 Blind Carbon Copy              X
                     ("Bcc") field extracted
                     from an email message
 EmailSubject        Subject line extracted         X
                     from an email message
 Filename            File name — Original                        X
                     name of file as
                     appeared in original
                     location
 Title               Title field extracted                       X
                     from the metadata of a
                     non-email document
 DateSent            Sent date of an email          X                           X
                     message (mm/dd/yyyy
                     format)
 DateRcvd            Received date of an            X                           X
                     email message
                     (mm/dd/yyyy format)


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 Field Name            Field Description        Required   Required For   Required for
                                                  For       Non-E-Mail    Chats/Texts
                                                 Email         ESI
 DateCreated         Date that a non-email                      X
                     file was created
                     (mm/dd/yyyy format)
 DateLastModified    The application                            X
                     recorded time on
                     which the document
                     was last modified
 TimeSent            Time e-mail was sent          X                           X
                     (hh:mm:ss format)
 TimeRcvd            Time e-mail was               X                           X
                     received (hh:mm:ss
                     format)
 FileExtension       The file extension for                     X
                     the document
 FilePath            File path storage             X            X
                     location of the
                     document or email if
                     the source application
                     allows for the creation
                     of folders
 NativeLink          Relative path to any          X            X              X
                     files produced in
                     native format
 TextLink            Relative path to any          X            X              X
                     OCR/extracted text
                     files in the production
                     set
 HashValue           MD5 or SHA-1 hash             X            X
                     value used to
                     deduplicate the data
 Confidentiality     Confidentiality               X            X              X
 Designation         Designation for
                     produced documents
 Redaction           Identifies if a               X            X              X
                     document has been
                     redacted
 Conversation_ID     For Teams and other                                       X
                     chat / text data,
                     identifies all messages
                     and family items that
                     belong to the same
                     conversation
 ConversationType    For Teams and other                                       X


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 Field Name               Field Description        Required   Required For     Required for
                                                     For       Non-E-Mail      Chats/Texts
                                                    Email         ESI
                     chat data, identifies the
                     content type (e.g., 1:1
                     Chat, Group Chat,
                     Channel Post)
 Chat_From (sender)  For Teams and other                                             X
                     chat / text data,
                     identifies the sender of
                     the message(s)
 Chat_To (recipient) For Teams and other                                             X
                     chat / text data,
                     identifies the
                     recipient(s) of the
                     message(s)
 Chat_Message Sent   For Teams and other                                             X
 Date                chat / text data,
                     identifies the sent date
                     for the message(s)
 Chat_AttachFileName For Teams and other                                             X
                     chat / text data,
                     provides the file name
                     for any files attached
                     to the message(s)
 Chat_Participant    For Teams and other                                             X
 Count               chat / text data,
                     provides the total
                     number of message
                     participants

 To the extent feasible without undue burden, hard copy documents, if any, shall be

 produced with at least the following fields:

 Fields             Description
 BegBates           Beginning Bates# (including Prefix)
 EndBates           Ending Bates# (including Prefix)

 BegAttach          Beginning Bates number of the first document in an attachment range
 EndAttach          Ending Bates number of the last document in attachment range
 Custodian          Name of custodian(s) of email(s) or file(s) produced (Last Name, First
                    Name format) as available




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       J.     Attachments: For purposes of this ESI Protocol, attachment means a

 physical file that is embedded into and/or sent with an email or another electronic

 message or file. If a parent email or one of its attachments is produced, all members

 of its family, except for privileged documents, and associated text and metadata,

 must be produced.      Email attachments shall be produced according to the

 specifications in this Section. Email attachments shall be processed as though they

 were separate documents, and the load file shall include a field in which the

 producing Party shall identify, for each email, the Bates range of any attachments.

 Attachments must be mapped to their parent.

       K.     Embedded Files: The Parties agree to meet and confer about the scope

 and format of production of embedded files (e.g., hyperlinks) that are not logos.

       L.     Compressed File Types: Compressed file types (e.g., .ZIP, .RAR,

 .CAB, .Z) should be decompressed so that the lowest level document or file is

 extracted. The compressed container files are not produced.

       M.     Decryption of Production Data: The Parties will make reasonable

 efforts to ensure that encrypted or password-protected documents and ESI are

 successfully processed for review and production. To the extent security protection

 for such documents and ESI cannot be successfully processed despite reasonable

 efforts, when producing such encrypted files, the producing Party shall produce a

 placeholder stating that the documents cannot be decrypted and provide fielded data



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 and, where available, metadata, listed in Subsection F above, to the extent it can be

 reasonably extracted from the file in its encrypted form.

       N.     Redactions: Where redaction of information is required, such

 redactions must be made in a way that ensures the integrity of the remaining text is

 preserved for OCR (e.g., redactions must not obscure non-redacted text). Extracted

 text will not be provided for electronic documents that have been redacted—e.g., for

 privilege—because the extracted text would reveal the redacted information.

 Instead, these files should be run through an OCR process to capture the visible text

 only and the results exchanged in lieu of the original extracted text. Any redactions

 must be clearly visible on the face of the produced document (e.g., the Parties should

 not use white boxes to make redactions on documents with a white background) and

 redactions should include the label of “Redacted” which is included in the OCR of

 the document, to make it searchable. Excluding files that do not render in a readable

 format to TIFF, such as excel spreadsheets, redacted ESI shall be produced as

 TIFF/JPG images, accompanied by a load file with fielded data, a .txt file containing

 the OCR’ed text, and an image load file for the redacted TIFF/JPGs. Documents

 that do not render in a readable format to TIFF shall be redacted in native form as

 long as the producing party keeps a pristine, unredacted copy of the native file and

 identifies the natively redacted files by way of the redaction metadata field. Native

 Excel or other spreadsheet files may be redacted by overwriting the data contained



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 in a particular cell, row, column or tab so as to make clear the reason for the redaction

 (e.g., “Redacted for Privilege”). Privileged field data can be redacted with the word

 “Redacted for Privilege” replacing the withheld metadata. All metadata that is not

 privileged will be produced. The Parties will meet and confer to discuss a suitable

 production format for any document types not addressed in this ESI Protocol, as

 necessary.

    IV.     PRIVILEGE

       A.     Privilege Logs: Each Party shall produce a privilege log within thirty

 (30) days following the production of ESI to which that privilege log relates. The

 Parties will meet and confer concerning the nature and scope of privilege logs for

 this action, including, but not limited to, any categories of documents or information

 that may be excluded from the Parties’ privilege logs, the information to be included

 in the privilege logs, and the responsibility and procedure for logging documents

 over which there is a claim of privilege by a Party other than the producing Party.



       IT IS SO ORDERED.



       Dated: June 23, 2025                      /s/Susan K. DeClercq
                                                 Hon. Susan K. DeClercq
                                                 U.S. District Court Judge




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      SO STIPULATED:
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